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11
                              UNITED STATES DISTRICT COURT FOR THE
12
                                  EASTERN DISTRICT OF VIRGINIA
13                                    ALEXANDRIA DIVISION

14    PAPER SHOOT TECHNOLOGIES INC., a              )
      foreign corporation,                          )
15                                                  )
                       Plaintiff,                   )
16                                                  )       Case No. ______________
               v.                                   )
17                                                  )
      2763072 ONTARIO INC., d/b/a SILVER            )       VERIFIED COMPLAINT
18    MARKETING, a foreign corporation;             )
      PAPER SHOOT CAMERA LLC, a                     )       JURY TRIAL DEMANDED
19    Delaware corporation; 1000994074              )
      ONTARIO INC., a foreign corporation; and      )
20    1686946 ONTARIO INC., a foreign               )
      corporation,                                  )
21                                                  )
                       Defendants.                  )
22                                                  )

23

24          Plaintiff Paper Shoot Technologies Inc. (“Paper Shoot”) brings this Complaint against
25   defendants 2763072 Ontario Inc. (d/b/a “Silver Marketing”), Paper Shoot Camera LLC (“PSC”),
26   1000994074 Ontario Inc., and 1686946 Ontario Inc. (jointly, “Defendants” or “Silver Marketing
27   Group”), and alleges, on personal knowledge as to its own actions and on information and belief
28   as to the actions of others, as follows:
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 1                                     NATURE OF THE ACTION

 2          1.      This action was necessitated by Silver Marketing Group’s brazen attempt to steal

 3   Paper Shoot’s brand, trademark rights, social media and website assets, and customers for itself.

 4   When that failed, Silver Marketing Group instead began developing a directly competing

 5   product—the Cappy Camera—in direct violation of the parties’ distribution agreement. Once

 6   Paper Shoot became aware of Silver Marketing Group’s scheme, Silver Marketing Group doubled

 7   down, embarking on a defamatory social media campaign accusing Paper Shoot of all manner of

 8   wrongdoing while converting all of Paper Shoot’s social media and website assets to Cappy

 9   Camera branded assets.

10          2.      Silver Marketing Group’s acts have caused Paper Shoot immediate, ongoing, and

11   irreparable harm. Paper Shoot’s customers, and subscribers to its U.S. social media accounts, have

12   been inundated with marketing for a competing product, as well as defamatory statements about

13   Paper Shoot. Though Paper Shoot has repeatedly tried to resolve this matter without resorting to

14   litigation, Silver Marketing Group has responded by expanding its infringing and unlawful

15   behavior.

16          3.      As recently as this week, Silver Marketing Group modified the website

17   <https://papershootcamera.com> to state that Paper Shoot has rebranded and is “Now Cappy

18   Camera.” That is false; Paper Shoot has not re-branded. Even more egregiously: the “Our Story”

19   page, <https://papershootcamera.com/pages/about-us>, still lists Paper Shoot’s actual owner

20   George Lin as the “inventor” of Paper Shoot, but lists Gillain Gallant as the “Owner and CEO.”

21   That, too, is false. Ms. Gallant is the driving force behind the Silver Marketing Group, which does

22   not have Paper Shoot’s permission to use its marks, domain name, website, other assets.

23          4.      Silver Marketing Group’s unlawful misappropriation of Paper Shoot’s rights,

24   brand, and assets must be stopped.

25                                             THE PARTIES

26          5.      Plaintiff Paper Shoot is a corporation existing under the laws of Taiwan with its

27   principal place of business at No. 151, Daxue Road, Sanxia Dist, New Taipei City 237303,

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     COMPLAINT
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 1   Taiwan.

 2           6.       On information and belief, Defendant Silver Marketing is a corporation existing

 3   under the laws of Ontario, Canada with its principal place of business at 1679 Heron Road,

 4   Ottawa, Ontario, K1V 6A2.

 5           7.       On information and belief, Defendant PSC is a Delaware limited liability company

 6   with its principal place of business at 1679 Heron Road, Ottawa, Ontario, K1V 6A2.

 7           8.       On information and belief, Defendant 1000994074 Ontario Inc. is a corporation

 8   existing under the laws of Ontario, Canada with its principal place of business at 1679 Heron

 9   Road, Ottawa, Ontario, K1V 6A2.

10           9.       On information and belief, Defendant 1686946 Ontario Inc. is a corporation

11   existing under the laws of Ontario, Canada with its principal place of business at 1679 Heron

12   Road, Ottawa, Ontario, K1V 6A2.

13                                     JURISDICTION AND VENUE

14           10.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

15   §§ 1331 and 1338 and 15 U.S.C. § 1121. Additionally, this Court has supplemental jurisdiction

16   over Paper Shoot’s state law claims under 28 U.S.C. § 1367(a) insofar as these claims are so

17   related to the federal claims in the action that they form part of the same case or controversy.

18           11.      This Court has personal jurisdiction over Defendants because as alleged infra,

19   Defendants have committed fraud on the United States Patent and Trademark Office (“USPTO”),

20   which is located in Alexandra, Virginia, and Paper Shoot’s claims for relief arise out of those

21   wrongful acts.

22           12.      This Court also has personal jurisdiction over Defendants because, upon

23   information and belief, Defendants have knowingly and purposefully marketed and offered for

24   sale the infringing products to persons within the State of Virginia; Defendants regularly transact

25   and conduct business within the State of Virginia; and Defendants have otherwise made or

26   established contacts within the State of Virginia sufficient to permit the exercise of personal

27   jurisdiction.

28           13.      Defendants also are subject to nationwide jurisdiction under FED. R. CIV. P. 4(k)(2).
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 1   As alleged supra, Plaintiff’s claims in this lawsuit arise under federal law. If Defendants’ fraud on

 2   the PTO does not subject them to personal jurisdiction in the State of Virginia, then Defendants—

 3   Canadian entities, and a Canada-based Delaware entity—would not be subject to general personal

 4   jurisdiction in any other State in the United States. Nonetheless, subjecting Defendants to

 5   nationwide jurisdiction would comport with the United States Constitution and laws. For example,

 6   Defendants are using Plaintiff’s intellectual property—including, for example, on Plaintiff’s

 7   website—to advertise, promote, and offer for sale Defendants’ products to consumers throughout

 8   the United States in United States Dollars. Accordingly, it is reasonable for Defendants to have to

 9   answer for their unlawful conduct throughout the United States.

10           14.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a

11   substantial part of the events giving rise to this complaint occurred in this judicial district.

12                                              BACKGROUND

13       A. Paper Shoot’s Digital Camera

14           15.     Paper Shoot is a Taiwanese manufacturer of beloved and award-winning “point-

15   and-shoot” digital cameras crafted from paper, which combine an eco-friendly design with modern

16   technology (the “Paper Shoot Camera”), see below:

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             16.     The Paper Shoot Camera was invented by Taiwanese entrepreneur George Lin,
23
     who was inspired to create a simple yet meaningful way to capture memories, and his wife, Miffy
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     Chen, who contributed her artistic vision and technical expertise to the design.
25
             17.     The Paper Shoot Camera is well-known for its unique, compact design, its
26
     customizable features, and its use of filters to produce digital photos that replicate the visual effect
27
     of film photos. Paper Shoot also sells filter cards, camera lenses, and other camera accessories
28
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 1   including lens caps, camera cases, and camera straps.

 2          18.    Paper Shoot has sold its PAPER SHOOT-brand cameras and related products under

 3   the PAPER SHOOT brand and mark since 2013 and in the United States since at least 2017. Paper

 4   Shoot’s additional marks include the PAPER SHOOT NORTH AMERICA mark and

 5   accompanying design marks used in connection with Paper Shoot’s North America website,

 6   https://papershootcamera.com (“Paper Shoot Website”); and the PAPER SHOOT CAMERA mark

 7   used in connection with Paper Shoot’s camera products (together, with the PAPER SHOOT and

 8   PAPER SHOOT NORTH AMERICA marks, the “PAPER SHOOT Marks”).

 9          19.    Paper Shoot has spent substantial time, money, and effort in developing and

10   promoting its PAPER SHOOT brand and promoting its products offered under the PAPER

11   SHOOT Marks. For example, Paper Shoot has promoted its products under the PAPER SHOOT

12   Marks at the widely visited Museum of Modern Art in Manhattan, as well as Fotografiska in New

13   York. As another example, Paper Shoot promoted its products under the PAPER SHOOT Marks

14   at the widely attended NY Now Expo in 2019.

15          20.    Consumers also receive widespread exposure to Paper Shoot’s products offered

16   under the PAPER SHOOT Marks. For example, the widely circulated and read Wall Street

17   Journal featured the PAPER SHOOT-brand camera in an August 5, 2014 article. See Exhibit 1.

18   Consumers also encounter Paper Shoot’s products offered under the PAPER SHOOT Marks on

19   widely viewed social-media platforms, such as YouTube and TikTok. As a still further example,

20   consumers encountered Paper Shoot’s products offered under the PAPER SHOOT Marks when

21   radio personality, Jack Socha, introduced them on his show.

22          21.    Products advertised and sold under the PAPER SHOOT Marks have been a

23   commercial success. For example, such sales were approximately 18,000 units in the United

24   States between 2017 and 2020 alone.

25          22.    As a result of these efforts, consumer exposure, and sales success, Paper Shoot has

26   developed valuable common-law trademark rights in its PAPER SHOOT Marks, extending

27   nationwide.

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 1      B. Silver Marketing Group’s Solicitation of Paper Shoot

 2          23.     In October 2020, Gillian Gallant and Jack Bisson, owners of Silver Marketing, and

 3   the other defendants, contacted Paper Shoot’s Taiwan headquarters and offered to distribute Paper

 4   Shoot Cameras in North America. Ms. Gallant and Mr. Bisson believed in the potential of Paper

 5   Shoot after seeing a video about Paper Shoot Cameras that had gone “viral” on the TikTok social

 6   media application, receiving over 2.4 million views.

 7          24.     On or about October 30, 2020, Paper Shoot and Silver Marketing executed a

 8   distribution agreement that gave Silver Marketing the exclusive right to distribute Paper Shoot

 9   Cameras in the United States and Canada. That agreement is attached hereto as Exhibit 2. In

10   preparation for that partnership, Paper Shoot granted Silver Marketing express permission to

11   launch the Paper Shoot Website. See Exhibit 3 attached. In preparation for that partnership,

12   Paper Shoot also granted Silver Marketing permission to register the domain name

13   <papershootcamera.com> (“Paper Shoot Domain Name”), which it did October 29, 2020.

14          25.     Through Silver Marketing, Paper Shoot continued distributing Paper Shoot

15   Cameras under the PAPER SHOOT Marks in North America in December 2020. During the

16   holiday season of 2020, Paper Shoot shipped hundreds of cameras to North America each day to

17   be distributed by Silver Marketing under the terms of the exclusive distribution agreement.

18          26.     On July 21, 2021, Paper Shoot and Silver Marketing executed a revised distribution

19   agreement that gave Silver Marketing exclusive distribution rights to the United Kingdom, in

20   addition to the United States and Canada (the “Agreement”). That Agreement is attached hereto as

21   Exhibit 4.

22          27.     Section 1.1 of the Agreement provides that “the trade mark ‘PAPER SHOOT’” is

23   “owned exclusively by PAPER SHOOT throughout the world in connection with Paper Shoot

24   digital cameras [and] related products.”

25          28.     Under section 4.2 of the Agreement, Paper Shoot granted Silver Marketing a

26   nonexclusive license to use the PAPER SHOOT trademark “and any other intellectual property

27   rights relating to the Products, as may be agreed upon by the Parties, to allow Silver Marketing to

28   market and promote the Products” in its assigned territories. (Emphasis added.)
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 1          29.     Under section 4.3 of the Agreement, Silver Marketing agreed to the following:

 2          (a)     that “it will, at the expense of [Paper Shoot], assist and co-operate with [Paper

 3                  Shoot] to the extent reasonably requested by [Paper Shoot] to protect the

 4                  Intellectual Property Rights of” Paper Shoot;

 5          (b)     that “it will take no steps, either directly or indirectly, to claim or dispute the

 6                  ownership, enforceability, or validity of the Intellectual Property Rights” of Paper

 7                  Shoot; and

 8          (c)     that “it will not copy, translate, convert, modify, reverse engineer, decompile,

 9                  disassemble, download, re-format, create derivate works of, distribute, sell, license,

10                  lease or rent . . . any property dealt with in this Agreement in which [Paper Shoot]

11                  owns Intellectual Property Rights except as expressly provided for.”

12   (Emphasis added.)

13          30.     Section 6.1 of the Agreement contains a “Non-Competition” provision, under

14   which Silver Marketing agreed to refrain from directly or indirectly “offer[ing] or provid[ing]”

15   product “similar” to the product “manufactured by PAPER SHOOT and purchased and distributed

16   by Silver Marketing pursuant to th[e] Agreement.” Under that same provision Silver Marketing

17   also agreed not to attempt to influence any customer to “terminate or downgrade its business

18   relationship with” Paper Shoot or otherwise “act in any manner that is detrimental to the relations

19   between [Paper Shoot] and its customers.” According to the terms of the Agreement, the Non-

20   Competition provision would survive the Agreement’s termination.

21          31.     Under section 6.2 of the Agreement, Silver Marketing acknowledged “that a breach

22   of any of the provisions of Section 6.1 will cause irreparable harm to the offended Party and that

23   actual damages may be difficult to ascertain and, in any event, may be inadequate.” Accordingly,

24   Silver Marketing agreed that “in the event of such breach, the offended Party will be entitled, with

25   proof of damage, to seek and obtain injunctive relief in any court of competent jurisdiction, in

26   addition to such other legal or equitable remedies as may be available.” Silver Marketing also

27   agreed to “promptly consent in writing to PAPER SHOOT obtaining a temporary restraining

28   order, or any preliminary or permanent injunction, restraining such actions which are in violation
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 1   of any of the” non-competition provisions in section 6.1 of the Agreement.

 2          32.     As a result of Silver Marketing’s unlawful conduct discussed herein, on September

 3   13, 2024, Paper Shoot, in writing, terminated the Agreement.

 4      C. Paper Shoot’s Termination of the Agreement

 5          33.     On or around February 15, 2022, while still bound by the terms of the Agreement,

 6   Silver Marketing formed the entity Defendant Paper Shoot Camera LLC, which Silver Marketing

 7   Group has admitted was named as part of a scheme to reinforce the false claim that Silver

 8   Marketing Group owns the Paper Shoot brand.

 9          34.     In furtherance of that scheme, on May 4, 2022, PSC filed a use-based application to

10   register the PAPER SHOOT CAMERA word mark, which matured to U.S. Registration No.

11   7,084,784. In its application, PSC listed the “first use” of the mark as having occurred “[a]t least

12   as early as” May 4, 2022, despite knowing that Paper Shoot had been marketing and selling Paper

13   Shoot Cameras in the United States under the PAPER SHOOT CAMERA mark for years prior to

14   2020. To support its alleged first use date, PSC included images of Paper Shoot’s use of the

15   PAPER SHOOT Marks, thereby claiming Paper Shoot’s use as its own. The specimen that PSC

16   provided to the USPTO was also a Paper Shoot Camera. PSC did not disclose to the USPTO that it

17   was merely a distributor of the Paper Shoot Cameras and owned no rights to the mark. The

18   trademark application was registered on June 20, 2023. On September 6, 2024, Paper Shoot

19   Camera filed a petition to cancel the registration. The cancellation proceeding is pending.

20          35.     Sometime on or before January 22, 2024, Silver Marketing Group unilaterally

21   removed all references to the original Paper Shoot team from the “Meet Our Team” page of the

22   Paper Shoot Website and declared Ms. Gallant “Owner and CEO” and Mr. Bisson “COO and Co-

23   Owner,” leading third parties, including at least one Chinese manufacturer, to believe that Silver

24   Marketing Group were the owners of the Paper Shoot brand. See Exhibit 5, attached. That change

25   to the Paper Shoot Website was without authorization and lasted until at least May 15, 2024.

26          36.     In or about May 2024, Silver Marketing Group also began selling new Paper Shoot

27   branded products on the Paper Shoot Website, including those depicted in the below images.

28   These products were not made, approved, or authorized by Paper Shoot, whether under the terms
     COMPLAINT
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 1   of the Agreement or otherwise.

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 7          37.     At some point between May 15 and June 4, 2024, Silver Marketing Group revised
 8   the Paper Shoot Website to feature Mr. Lin as the “Paper Shoot Inventor,” but the revised Website
 9   continued to incorrectly refer to Ms. Gallant as the “Owner and CEO.” See Exhibit 6, attached. As
10   justification for this redesign, Defendants told Paper Shoot that it was important for them “to
11   position [them]selves as owners.”
12          38.     Also without authorization, Silver Marketing Group revised the Paper Shoot
13   Website to remove the PAPER SHOOT NORTH AMERICA marks and replace them with
14   confusingly similar marks and logos shown below:
15          (a)     PAPER SHOOT NORTH AMERICA marks:
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            (b)     Silver Marketing Group’s unauthorized branding:
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            39.     Paper Shoot wrote to Silver Marketing Group concerning the unauthorized logo
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     change, but Silver Marketing Group did not respond or revert the logos.
27
            40.     In June 2024 PSC entered into a confidentiality agreement with a Chinese
28
     COMPLAINT
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  1   manufacturer regarding the development of Silver Marketing Group’s own camera design, which

  2   PSC referred to in the confidentiality agreement as “Paper Shoot Camera Products.” Paper Shoot

  3   learned about Silver Marketing Group’s agreement with the Chinese manufacturer shortly

  4   thereafter from a Taiwanese supplier, who was confused as to the identity of PSC and asked

  5   whether Paper Shoot was planning to expand into China.

  6          41.     On or around August 6, 2024, while still bound by the terms of the Agreement with

  7   Paper Shoot, Silver Marketing Group sent the Chinese manufacturer a deposit in order to

  8   commence the production of Silver Marketing Group’s own camera line.

  9          42.     While still bound by the Agreement, Silver Marketing Group marketed and sold

 10   Paper Shoot Cameras to other territories outside of the United States, Canada, and United

 11   Kingdom, in violation of the terms of the Agreement. Paper Shoot learned of this conduct and

 12   informed Silver Marketing Group that it could ship only within its assigned territories. Silver

 13   Marketing Group briefly ceased shipping to unauthorized territories but soon resumed their

 14   shipments to countries outside their designated territories.

 15          43.     While still bound by the Agreement, and continuing after Paper Shoot’s

 16   termination of the Agreement, Silver Marketing Group sold extended warranties for the Paper

 17   Shoot Camera that it had no right or authorization to sell.

 18          44.     In light of Silver Marketing Group’s unauthorized use of the Paper Shoot brand and

 19   ongoing breaches of the Agreement, and out of concern that Silver Marketing Group was

 20   intending to manufacture a counterfeit product using the PAPER SHOOT Marks, Paper Shoot, in

 21   writing, notified Silver Marketing Group on August 20, 2024 of its intent to terminate the

 22   Agreement.

 23          45.     When Silver Marketing Group failed to cure its breaches, Paper Shoot again

 24   explained to Silver Marketing Group, in writing, the nature of its claims and demanded it cease its

 25   infringing activities and other unlawful conduct. Attached herein as Exhibit 7 is a copy of the

 26   cease and desist letter Paper Shoot’s Taiwanese counsel sent to Silver Marketing Group’s counsel

 27   on September 13, 2024. In that same letter, Paper Shoot unilaterally terminated the Agreement.

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  1      D. Silver Marketing Group’s Post-Termination Attempts to Appropriate the PAPER

  2          SHOOT Brand

  3          46.     Silver Marketing Group continued to persist in infringing and violative activities

  4   after receiving Paper Shoot’s cease and desist letter.

  5          47.     On or about September 30, 2024, just three weeks after Paper Shoot terminated the

  6   Agreement, Silver Marketing Group announced that it had developed a compact digital camera,

  7   called the “Cappy Camera,” see below:

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             48.     Shortly thereafter, on or about October 1, 2024, Silver Marketing Group released a
 18
      statement designed to mislead the public and Paper Shoot’s other partners and distributors,
 19
      including but not limited to stating that Paper Shoot failed to deliver products to Silver Marketing
 20
      despite receiving payment for said products. Silver Marketing Group even went so far as to
 21
      directly contact Paper Shoot’s other distributors to amplify and reiterate such false claims. As a
 22
      result of Silver Marketing Group’s false claims, Paper Shoot’s distributors in Australia and
 23
      Portugal notified Paper Shoot of their intent to cease working with Paper Shoot.
 24
             49.     Silver Marketing Group has admitted on social media that its Cappy Camera was
 25
      designed based on consumer feedback it received during the years it served as the exclusive North
 26
      American distributor for Paper Shoot products. Silver Marketing Group’s admissions are attached
 27
      hereto as Exhibit 8. See also Jeremy Gray, Amid Kerfuffle, Former Paper Shoot Camera
 28
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                                                         11
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  1   Distributor Launches Competing Toy Camera, PetaPixel, Oct. 7, 2024, available at:

  2   https://petapixel.com/2024/10/07/amid-kerfuffle-former-paper-shoot-camera-distributor-launches-

  3   competing-toy-camera/ (last accessed Nov. 7, 2024) (“PetaPixel Article”).

  4          50.    Unsurprisingly, the media has reported “[t]he Cappy Camera’s features are, by and

  5   large, similar to those offered by the Paper Shoot Camera.” See Exhibit 9; see also PetaPixel

  6   Article.

  7          51.    Silver Marketing Group also misappropriated and renamed Paper Shoot’s social

  8   media and website assets, including Paper Shoot’s Instagram, TikTok, Facebook, and Pinterest

  9   accounts, as well as used the Paper Shoot Domain Name, to promote the Cappy Camera, thereby

 10   confusing Paper Shoot’s loyal customers into believing that the Cappy Camera is a direct

 11   successor to the Paper Shoot Camera.

 12          52.    Specifically, on or around October 4, 2024, Silver Marketing Group revised the

 13   Paper Shoot Website to feature an announcement of an upcoming “next chapter.” An image of that

 14   website page is provided below and attached hereto as Exhibit 10.

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 24          53.    Paper Shoot then discovered that from at least October 4, 2024 until November 1,
 25   2024, Silver Marketing Group removed all content from the Paper Shoot Website except for a
 26   message reading “Change is Coming”; a link to Paper Shoot Cameras sold online at Amazon.com;
 27   and a link titled “Be Notified Of Our New Camera” that redirected consumers to the Cappy
 28
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  1   Camera website, <https://cappycamera.com>. An image of that website is provided below and

  2   attached hereto as Exhibit 11.

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 11          54.     Silver Marketing Group has also used Paper Shoot’s email distribution list to
 12   promote the Cappy Camera, perpetuating consumer confusion as to an association between the
 13   entities and products. In one such email to consumers, Silver Marketing Group stated that Paper
 14   Shoot has “rebranded from Paper Shoot Camera to Cappy Camera,” which conveys the false claim
 15   that Cappy Camera is an unauthorized successor to Paper Shoot. An image of that communication
 16   is provided below and attached hereto as Exhibit 12.
 17

 18

 19

 20          55.     Silver Marketing Group’s continuing infringing activity demonstrates a willful and
 21   bad faith intent to create confusion, deception, and mistake in the minds of Paper Shoot’s
 22   consumers and potential new consumers.
 23          56.     Because of widespread confusion as to the source of PSC’s products and because of
 24   PSC’s unauthorized use of the PAPER SHOOT Marks, Domain Name, Website, and social-media
 25   accounts in connection with cameras similar to the Paper Shoot Camera, Paper Shoot’s goodwill
 26   in its PAPER SHOOT Marks and brand has been and will be damaged. Some examples of actual
 27   confusion are provided below and attached hereto as Exhibit 13.
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      COMPLAINT
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         E. Silver Marketing Group’s Other Unlawful Acts
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             57.     Silver Marketing Group has been selling the remaining stock of Paper Shoot
 17
      Cameras at steeply discounted prices without first receiving approval from Paper Shoot, in
 18
      violation of the explicit pricing terms of the Agreement found in section 1.1(f). That section
 19
      provides that for any “Promotional Campaign” where the Paper Shoot Cameras are priced at a
 20
      discount for a period of time, “Distributor [Silver Marketing] must inform PAPER SHOOT by
 21
      mail before the promotional campaign start[s].” The discounted pricing also violates the
 22
      noncompetition provision of the Agreement, causing harm to Paper Shoot’s brand.
 23
             58.     In social media posts, on podcasts, and elsewhere, Silver Marketing Group has
 24
      made numerous false and defamatory statements accusing Paper Shoot of engaging in unlawful
 25
      activity or otherwise violated the Agreement, including by: (i) knowingly shipping defective
 26
      products, (ii) not having proper quality control procedures for Paper Shoot Cameras, (iii) “lying”
 27
      to Silver Marketing Group, and (iv) “encroaching” on and stealing the North America market from
 28
      COMPLAINT
                                                        14
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  1   Silver Marketing Group, see examples below:

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             59.    Silver Marketing Group also falsely and publicly accused Paper Shoot of breaching
 24
      the Agreement by failing to send product that Silver Marketing Group had ordered and paid for.
 25
      Section 3.2 of the Agreement very plainly states that “A purchase order provided by Silver
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      Marketing to PAPER SHOOT will constitute an offer to PAPER SHOOT.” See Ex. 4 (emphasis
 27
      added.) For Paper Shoot to accept, and therefore be bound by, any purchase order, Paper Shoot
 28
      COMPLAINT
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  1   had to return “an executed acknowledgement copy of the purchase order within forty eight (48)

  2   hours following receipt.” See id. Paper Shoot never accepted the orders at issue, and never

  3   received any payment for said orders.

  4          60.     On November 1, 2024, Paper Shoot, through its attorneys, again wrote to Silver

  5   Marketing Group to explain the nature of its claims and demand Silver Marketing Group cease

  6   their unauthorized use of its mark and other unlawful conduct, but Silver Marketing Group

  7   continues to persist in such infringing and violative activities. Attached hereof as Exhibit 14 is a

  8   copy of the cease and desist letter Paper Shoot’s United States counsel sent to Silver Marketing

  9   Group’s counsel on November 1, 2024.

 10          61.     Two days later, on November 3, Paper Shoot discovered that Silver Marketing

 11   Group had again revised the Paper Shoot Website to announce: “We’re Now Cappy Camera.”

 12   Silver Marketing Group is continuing to confuse consumers about any relationship between Paper

 13   Shoot and Silver Marketing Group, adding: “We’ve gotten an upgrade.” The home page of the

 14   redesigned website is shown below and attached hereto as Exhibit 15.

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 26          62.     The “Our Story” page of the redesigned website introduces the company as “Paper
 27   Shoot Camera”; prominently displays the CAPPY CAMERA mark; and features Mr. Lin as the
 28
      COMPLAINT
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  1   “Paper Shoot Inventor,” further confusing consumers as to any association between the Silver

  2   Marketing Group and Paper Shoot. That page of the redesigned Website is shown below and

  3   attached hereto as Exhibit 16.

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 16          63.     Upon information and belief, Silver Marketing Group intends to continue
 17   promoting its competing products using the PAPER SHOOT Marks, Domain Names, Website,
 18   and social-media accounts in the United States, confusing consumers and causing Paper Shoot
 19   immediate and irreparable harm. Silver Marketing Group’s refusal to take corrective action leaves
 20   Paper Shoot with no choice but to bring this action to protect its valuable intellectual property
 21   assets and to curb the extensive consumer confusion caused by Silver Marketing Group’s
 22   deliberate scheme to profit from the goodwill and consumer recognition of the PAPER SHOOT
 23   Marks and brand. Silver Marketing Group’s conduct also necessitates Paper Shoot’s
 24   contemporaneous filing of an application for a temporary restraining order and motion for a
 25   preliminary injunction.
 26

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 28
      COMPLAINT
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  1                                     FIRST CLAIM FOR RELIEF

  2                            (Breach of Contract Against Silver Marketing)
                                              (Virginia Law)
  3
             64.      Paper Shoot realleges and incorporates by reference the allegations of the preceding
  4
      paragraphs.
  5
             65.      The Agreement, including its Non-Competition provision, is valid and enforceable.
  6
             66.      Paper Shoot has performed all conditions, obligations, and promises under the
  7
      Agreement, except to the extent excused by Silver Marketing’s breaches.
  8
             67.      Silver Marketing has breached the Non-Competition provision of the Agreement,
  9
      including by:
 10
             (a)      forming the entity Paper Shoot Camera LLC and using it to promulgate the false
 11
                      claim that Silver Marketing is the owner of the Paper Shoot brand;
 12
             (b)      designing, developing, marketing, offering for sale, and selling a directly
 13
                      competing, similar product that Silver Marketing has admitted was designed based
 14
                      on consumer feedback it received while serving as Plaintiff’s exclusive distributer;
 15
             (c)      holding itself out to consumers and potential product manufacturers as the owner of
 16
                      the Paper Shoot brand, including by modifying the Paper Shoot Website to remove
 17
                      references to Paper Shoot and its rightful owners;
 18
             (d)      using branding and logos that are confusingly similar to Paper Shoot’s logo and
 19
                      PAPER SHOOT Marks;
 20
             (e)      misappropriating Paper Shoot’s social media accounts and website assets to
 21
                      promote its competing product, deceiving consumers as to the relationship between
 22
                      Paper Shoot and Silver Marketing;
 23
             (f)      marketing and selling Paper Shoot Cameras at steeply discounted prices in
 24
                      violation of the terms of the Agreement; and
 25
             (g)      repeatedly making false and defamatory comments about Paper Shoot and its
 26
                      business practices.
 27
             68.      As a direct and proximate result of Silver Marketing’s breaches of the Agreement,
 28
      COMPLAINT
                                                         18
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  1   Paper Shoot has suffered damages in an amount to be proven at trial.

  2                                   SECOND CLAIM FOR RELIEF

  3    (Federal Trademark Infringement, Unfair Competition, and False Association Against All
                               Defendants, 15 U.S.C. § 1125(a)(1)(A))
  4
               69.   Paper Shoot realleges and incorporates by reference the allegations of the preceding
  5
      paragraphs.
  6
               70.   Paper Shoot possesses valid and superior common law rights in the PAPER
  7
      SHOOT Marks.
  8
               71.   As mere licensees, Defendants never acquired ownership of the PAPER SHOOT
  9
      Marks.
 10
               72.   If, somehow, Defendants could prove ownership of any mark that includes “Paper”
 11
      and “Shoot,” in whole and/or in part, for digital cameras and/or related goods and services, by
 12
      reason of Paper Shoot’s prior adoption and use of its marks, Paper Shoot’s rights are superior to
 13
      and supersede any rights Defendants may own.
 14
               73.   Defendants had actual knowledge of Paper Shoot’s prior and superior rights to the
 15
      PAPER SHOOT name and marks, by reason of its distribution of Paper Shoot’s camera products
 16
      bearing the PAPER SHOOT Marks.
 17
               74.   The PAPER SHOOT Marks are inherently distinctive when used for digital
 18
      cameras and related accessories.
 19
               75.   By virtue of Paper Shoot’s advertising and promotional efforts, consumers’
 20
      widespread exposure to products offered under the PAPER SHOOT Marks, and sales success of
 21
      those products, the PAPER SHOOT Marks also have acquired distinctiveness and are
 22
      commercially strong source identifiers of and for Paper Shoot’s products.
 23
               76.   On information and belief, Defendants intend to promote products similar to those
 24
      of Paper Shoot under the PAPER SHOOT Marks.
 25
               77.   The use by Defendants of the PAPER SHOOT Marks is without the permission or
 26
      authorization of Paper Shoot.
 27
               78.   The class of customers for the products offered by Defendants is substantially the
 28
      COMPLAINT
                                                       19
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  1   same class of customers to whom Paper Shoot offers its products.

  2             79.     In view of the substantially similar nature of the parties’ products, the confusing

  3   similarity caused by the use of the same trademark by the two parties, and the substantially similar

  4   channels of trade and classes of purchasers of the parties’ products, Defendants’ continued use of

  5   PAPER SHOOT Marks has actually caused and is likely to cause confusion, mistake, and

  6   deception among purchasers and the public generally, leading them to believe, falsely, that

  7   Defendants’ products are those of, sponsored or approved by, or in some way connected with

  8   Paper Shoot to the irreparable injury of Paper Shoot’s trade and goodwill and to the injury of the

  9   public.

 10             80.     On information and belief, Defendants’ acts complained of herein have been in

 11   furtherance of their bad-faith scheme to willfully appropriate Paper Shoot’s rights in the PAPER

 12   SHOOT Marks and of the valuable goodwill of Paper Shoot’s business, thereby unlawfully

 13   benefitting Defendants.

 14             81.     On information and belief, the continued use of the PAPER SHOOT Marks by

 15   Defendants will be likely to injure the business and reputation of Paper Shoot and will damage the

 16   distinctive quality of Paper Shoot’s PAPER SHOOT Marks.

 17             82.     Defendants’ use of the PAPER SHOOT Marks is without Paper Shoot’s consent

 18   and is likely to cause confusion, mistake, or deception and constitutes direct infringement of Paper

 19   Shoot’s federal trademark rights and federal unfair competition in the form of passing off, false

 20   association, and false designation of origin, all in direct violation of 15 U.S.C. § 1125(a).

 21             83.     Paper Shoot is thus entitled to permanent injunctive relief and to recover

 22   Defendants’ profits, actual damages, enhanced profits and damages, costs, and reasonable

 23   attorneys’ fees under 15 U.S.C. §§ 1125(a), 1116, and 1117.

 24                                       THIRD CLAIM FOR RELIEF

 25                   (False Advertising Against All Defendants, 15 U.S.C. § 1125(a)(1)(B))
                84.     Paper Shoot realleges and incorporates by reference the allegations of the preceding
 26
      paragraphs.
 27
                85.     The false and misleading acts complained of aforesaid actually deceive and are
 28
      COMPLAINT
                                                           20
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  1   likely to deceive the public into believing, falsely, that Defendants’ services are those of,

  2   sponsored or approved by, or are in some way connected with Paper Shoot all to the irreparable

  3   injury of Paper Shoot’s trade and goodwill and to the injury of the public.

  4          86.     The aforesaid acts constitute federal false advertising in the form of false

  5   commercial representation, in direct violation of 15 U.S.C.§ 1125(a)(1)(B).

  6          87.     Paper Shoot is thus entitled to permanent injunctive relief and to recover

  7   Defendants’ profits, actual damages, enhanced profits and damages, costs, and reasonable

  8   attorneys’ fees under 15 U.S.C. §§ 1125(a), 1116, and 1117.

  9                                    FOURTH CLAIM FOR RELIEF

 10                     (Virginia Trademark Infringement Against All Defendants)
             88.     Paper Shoot realleges and incorporates by reference the allegations of the preceding
 11
      paragraphs.
 12
             89.     Defendants’ use of the PAPER SHOOT Marks without the permission or
 13
      authorization of Paper Shoot is likely to cause confusion, mistake and deception among consumers
 14
      and the public generally. Despite such a likelihood of public confusion, mistake or deception,
 15
      Defendants have continued to use and are presently using Paper Shoot’s marks and disregarding
 16
      Paper Shoot’s demands that Defendants cease this activity.
 17
             90.     Upon information and belief, Defendants continued use of the PAPER SHOOT
 18
      Marks is likely to injure the activity and reputation of Paper Shoot, will diminish the distinctive
 19
      quality of the PAPER SHOOT source identifying marks, and cause irreparable injury to the
 20
      PAPER SHOOT Marks, to Paper Shoot’s goodwill, and to the public.
 21
             91.     Defendants’ wrongful acts constitute common law trademark infringement in
 22
      Virginia.
 23
             92.     The aforesaid acts of Defendants are greatly and irreparably damaging to Paper
 24
      Shoot’s PAPER SHOOT Marks and will continue to be greatly and irreparably damaging to Paper
 25
      Shoot unless enjoined by this Court.
 26
             93.     Paper Shoot is therefore entitled to injunctive relief and to recover actual damages,
 27
      attorneys’ fees, and punitive damages to the full extent provided for by the common law of the
 28
      COMPLAINT
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  1   Commonwealth of Virginia.

  2                                     FIFTH CLAIM FOR RELIEF

  3                        (Virginia Unfair Competition Against All Defendants)
             94.     Paper Shoot realleges and incorporates by reference the allegations of the preceding
  4
      paragraphs.
  5
             95.     As described more fully herein, Defendants’ wrongful acts constitute common law
  6
      unfair competition in that said acts:
  7
             (a)     enable and will continue to enable Defendants to obtain the benefit of and trade on
  8
                     Paper Shoot’s goodwill;
  9
             (b)     damage and will continue to damage Paper Shoot’s goodwill in that Paper Shoot
 10
                     does not have control over Defendants’ operations; and
 11
             (c)     cause, have caused, and are likely to continue to cause confusion, mistake, or
 12
                     deception in the minds of the public.
 13
             96.     The aforesaid acts of Defendants are greatly and irreparably damaging to Paper
 14
      Shoot and will continue to be greatly and irreparably damaging to Paper Shoot’s PAPER SHOOT
 15
      Marks and associated goodwill unless enjoined by this Court, and Paper Shoot is without an
 16
      adequate remedy at law.
 17
             97.     This association between the Defendants’ use of the marks and Paper Shoot’s use
 18
      of the marks is likely to impair the distinctiveness of Paper Shoot’s PAPER SHOOT Marks sand
 19
      harm the reputation of Paper Shoot’s marks.
 20
             98.     The aforesaid acts constitute unfair competition in direct violation of Virginia
 21
      common law.
 22
             99.     Paper Shoot is therefore entitled to injunctive relief and to recover actual damages,
 23
      attorneys’ fees, and punitive damages to the full extent provided for by the common law of the
 24
      Commonwealth of Virginia.
 25
                                        SIXTH CLAIM FOR RELIEF
 26
           (Fraud On The United States Patent & Trademark Office Against All Defendants)
 27
             100.    Paper Shoot realleges and incorporates by reference the allegations of the preceding
 28
      COMPLAINT
                                                        22
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  1   paragraphs.

  2          101.    Defendants, through their duly authorized representative, filed Application Serial

  3   No. 97/394043 on May 4, 2022, pursuant to 15 U.S.C. § 1051(a), to register the PAPER SHOOT

  4   CAMERA word mark for use in connection with digital cameras.

  5          102.    Defendants, through their duly authorized representative, stated in Application

  6   Serial No. 97/394043 that they believed themselves to be the owner of the trademark they were

  7   seeking to register.

  8          103.    Defendants, through their duly authorized representative, also stated that they knew

  9   of no other person or entity that had the right to use the PAPER SHOOT CAMERA trademark in

 10   commerce, either in the identical form or in such near resemblance as to be likely, when used on

 11   or in connection with the good/services of such other person, to cause confusion or mistake or to

 12   deceive.

 13          104.    Defendants’ representations of fact in their Application were knowingly false and

 14   material. Prior to seeking registration of the PAPER SHOOT CAMERA word mark, Silver

 15   Marketing Group, in its role as the North American distributor for Paper Shoot Cameras, had

 16   actual knowledge of Paper Shoot’s ownership of, use of, and rights to the PAPER SHOOT Marks,

 17   including the PAPER SHOOT CAMERA word mark, in connection with digital cameras.

 18          105.    Paper Shoot never consented to the registration or the unlicensed use of the PAPER

 19   SHOOT Marks by Defendants or their agents, servants, and employees or by those acting in

 20   concert or participation with them.

 21          106.     On information and belief, Defendants intended to deceive the USPTO in

 22   misrepresenting its knowledge of Paper Shoot’s use of and superior rights in the PAPER SHOOT

 23   CAMERA mark in order to obtain the registration. Indeed, in their Application Defendants

 24   intentionally passed off Paper Shoot’s use of the PAPER SHOOT CAMERA mark as their own.

 25          107.    On June 20, 2023, U.S. Registration No. 7,084,784 of the PAPER SHOOT word

 26   mark was issued to Defendants, despite the false and material representations they made in

 27   Application Serial No. 97/394043, causing irreparable harm to Paper Shoot unless the registration

 28   is canceled.
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  1            108.   138. Wherefore, Registration No. 7,084,784 has been fraudulently obtained in

  2   violation of 15 U.S.C. § 1064(3) and should be canceled.

  3                                    SEVENTH CLAIM FOR RELIEF

  4     (Misappropriation Of Trade Secrets Against All Defendants, Va. Code Ann. § 59.1-336)
               109.   Paper Shoot realleges and incorporates by reference the allegations of the preceding
  5
      paragraphs.
  6
               110.   The technology, design, and development of Paper Shoot Cameras has been
  7
      maintained by Paper Shoot as confidential material. Paper Shoot has taken reasonable steps to
  8
      ensure the secrecy of that confidential material, which is neither generally known nor readily
  9
      ascertainable through legitimate means.
 10
               111.   The technology, design, and development of Paper Shoot Cameras has actual and
 11
      potential economic value to Paper Shoot’s competitors, and they constitute trade secrets of Paper
 12
      Shoot.
 13
               112.   Paper Shoot’s email distribution list also constitutes a trade secret. The list is not
 14
      generally known and not readily ascertainable by proper means, and Paper Shoot has taken
 15
      reasonable efforts to maintain its secrecy. Moreover, the distribution list has independent
 16
      economic value in that it could be used by a competitor to determine where to apply its resources
 17
      and who to target, as Defendants themselves have demonstrated.
 18
               113.   Upon information and belief, Defendants have misappropriated Paper Shoot’s trade
 19
      secrets as alleged above, to the competitive detriment of Paper Shoot. Defendants are benefitting
 20
      from their misappropriation and use of Paper Shoot’s trade secrets in that they have developed a
 21
      directly competing product using Paper Shoot’s proprietary information and have converted Paper
 22
      Shoot’s email distribution list to their own use, all without authorization.
 23
               114.   Unless Defendants’ conduct alleged herein is enjoined by the Court, Paper Shoot
 24
      will continue to suffer great and irreparable harm from Defendants’ continued use and disclosure
 25
      of its trade secrets. Under Va. Code Ann. § 59.1-337, Paper Shoot is entitled to preliminary and
 26
      permanent injunctions to prevent actual or threatened misappropriation and misuse of Paper
 27
      Shoot’s trade secrets.
 28
      COMPLAINT
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  1          115.    As a proximate result of Defendants’ misappropriation of Paper Shoot’s trade

  2   secrets, Paper Shoot has suffered damages in an amount to be proven at trial.

  3          116.    Defendants have been unjustly enriched by their misappropriation of Paper Shoot’s

  4   trade secrets in an amount to be proven at trial.

  5          117.    Defendants’ misappropriation of Paper Shoot’s trade secrets was willful and

  6   malicious. Therefore, Paper Shoot is also entitled to an award of punitive damages and reasonable

  7   attorneys’ fees under Va. Code Ann. §§ 59.1-338 and 59.1-338.1.

  8                                    EIGHTH CLAIM FOR RELIEF

  9                    (Cybersquatting Against All Defendants, 15 U.S.C. § 1125(d))
             118.    Paper Shoot realleges and incorporates by reference the allegations of the preceding
 10
      paragraphs.
 11
             119.    The PAPER SHOOT Marks were distinctive as October 29, 2020, i.e., the
 12
      registration date of the Paper Shoot Domain Name.
 13
             120.    Defendants’ use of the Paper Shoot Domain Name is confusingly similar to the
 14
      PAPER SHOOT Marks.
 15
             121.    Defendants use the Paper Shoot Domain Name in bad faith to divert customers
 16
      away from Paper Shoot and create a likelihood of confusion between Paper Shoot’s and
 17
      Defendants’ products.
 18
             122.    Defendants have no bona fide noncommercial or fair use of the mark in connection
 19
      with the Paper Shoot website.
 20
             123.    The aforesaid acts constitute cybersquatting under 15 U.S.C. § 1125(d).
 21
             124.    Paper Shoot is thus entitled to permanent injunctive relief and to recover
 22
      Defendants’ profits, actual damages, enhanced profits and damages, costs, and reasonable
 23
      attorneys’ fees under 15 U.S.C. §§ 1125(d), 1116, and 1117.
 24
                                        NINTH CLAIM FOR RELIEF
 25
                                     (Defamation Against All Defendants)
 26
             125.    Paper Shoot realleges and incorporates by reference the allegations of the preceding
 27
      paragraphs.
 28
      COMPLAINT
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  1          126.    Defendants intentionally published false and defamatory statements that have

  2   injured Paper Shoot’s professional reputation and pursuit of its business. The statements were

  3   unprivileged communications.

  4          127.    Specifically, in public statements on social media and in a podcast conversation,

  5   Defendants accused Paper Shoot of unethical and unprofessional conduct, including breach of

  6   contract, knowingly shipping defective products, not having proper quality control procedures in

  7   place, lying to and betraying Silver Marketing, and stealing the North American market from

  8   Silver Marketing.

  9          128.    Defendants made the false and defamatory statements with actual malice. The

 10   statements were motivated by ill will, and Defendants actually knew the statements were false at

 11   the time they made them or made the statements with reckless disregard for their truth or falsity.

 12          129.    As a proximate result of the false and defamatory statements made by Defendants,

 13   Paper Shoot has suffered injury to its business and professional reputation, in an amount to be

 14   proven at trial. Because Defendants acted with actual malice, Paper Shoot is also entitled to

 15   recover punitive damages in an amount to be proven at trial.

 16                                        PRAYER FOR RELIEF

 17          Paper Shoot prays for judgment as follows:

 18          (a)     That this Court order Defendants and their officers, affiliate companies, agents,

 19   servants, employees, successors, licensees, and assigns, and all others in concert and privity with

 20   them, be enjoined permanently from: (1) using the PAPER SHOOT Marks, any variation of the

 21   PAPER SHOOT designation, or any mark that is confusingly similar to any of Plaintiff’s Marks in

 22   connection with digital camera products and other related goods and services, including on

 23   Defendants’ websites, social media sites, third-party websites, letterhead, signage, advertising, or

 24   promotional material, either in print or broadcast or electronic form or other forms either

 25   separately or compositely with other words, symbols or devices; and (2) in any manner imitating

 26   Plaintiff’s PAPER SHOOT Marks, for the purpose of acquiring Plaintiff’s trade and goodwill by

 27   imitation, fraud, mistake, or deception;

 28          (b)     That Defendants be ordered to immediately cease production and marketing of its
      COMPLAINT
                                                        26
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  1   Cappy Camera;

  2             (c)    That Defendants be ordered to prohibit selling any remaining Paper Shoot Cameras

  3   below the price agreed upon under the terms of the Agreement;

  4             (d)    That Defendants be ordered to immediately cease use of and transfer control of the

  5   Paper Shoot Domain Name, as well as any websites infringing the PAPER SHOOT Marks,

  6   including <https://papershootcamera.com> , and to transfer Paper Shoot’s Instagram, TikTok,

  7   Facebook, and Pinterest accounts, and any other digital or physical asserts currently or previously

  8   associated with Paper Shoot, to Plaintiff;

  9             (e)    That Defendants be ordered to expressly abandon all filings and registrations for

 10   the PAPER SHOOT CAMERA word mark worldwide, including U.S. Reg. No. 7,084,784;

 11             (f)    That Defendants be ordered to: (1) immediately and publicly issue corrective

 12   advertising to cure the confusion created in the marketplace by disclaiming, in writing, any

 13   association between Paper Shoot and the Cappy Camera or Silver Marketing Group; and

 14   (2) immediately and publicly retract the false and defamatory statements that Silver Marketing

 15   Group circulated on social media accounts and other online platforms accusing Paper Shoot of

 16   breach of contract and operating in bad faith;

 17             (g)    That Defendants be ordered to pay compensatory, punitive, and enhanced damages,

 18   as well as Paper Shoot’s attorneys’ fees and costs, as demanded in the Claims set forth above;

 19             (h)    That Defendants be ordered to pay prejudgment interest on the foregoing relief;

 20             (i)    That this Court deem Defendants’ conduct “exceptional” and award Paper Shoot its

 21   reasonable attorneys’ fees and costs under 15 U.S.C. § 1117(a); and

 22             (j)    That this Court grant such other and further relief as this Court may deem just and

 23   proper.
                                          DEMAND FOR JURY TRIAL
 24

 25             Paper Shoot hereby demands trial by jury of all issues triable by a jury.

 26   Dated: November 8, 2024                 Respectfully submitted,
 27                                           By: /s/ Chad D. Hansen
                                              CHAD D. HANSEN
 28                                           Virginia Bar No. 96705
      COMPLAINT
                                                          27
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 10
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  1                                   CERTIFICATE OF SERVICE

  2          I HEREBY CERTIFY that, on November 8, 2024, I electronically filed the foregoing
  3   document with the Clerk of the Court using CM/ECF. I also hereby certify that, on November 8,
  4   2024, my law firm emailed a courtesy copy of this document to Defendants’ counsel at:
  5                                        Trevor Bradford, Esq.
  6                                     INTELLECTUAL STRATEGIES
                                         1371 North 1075, Suite 3
  7                                       Farmington, Utah 84025
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  9                                       By: /s/ Chad D. Hansen
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      COMPLAINT
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